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Fi|l in this information to identify your case:

Unlled Stales Bankruplcy Couri for lhe‘.

DlSTRlCT QF_D_ELAWARE

Case number(ilrmmm) Chapler _ 11

 

lj Check |f this an
amended filing

 

 

_Qi"iicial Form 201
Vo|untary Petition for Non-|ndividua|s Fi|ing for Bankruptcy 4/16

li more space is needed, attach a separate sheet to this form. 0n the top of any additional pages, write ihe debtor's name and case number (if known).
For more informalion, a separate document, instructions for Bankrupicy Forms for Non-Indlviduals, ls available.

_\

Debtor's name First Rlver Ene rgy. LLC

 

2. A|l other names debtor

used m me last a years FDBA First River Mldstream, LLC

include any assumed FDBA First River Markeling, LLC
names, trade names and
doing business as names

 

3. Debtor's federal
Employerrdemincation XX-XXXXXXX
Number(ElN)

 

 

 

 

4. Debtor's address Prlnclpal place of business Mai|ing address, if different from principal place of
business

1862 W. Bifters Road, Sui!e 300
San Antonio, TX 78248

 

_Number. Slraai, Cily, Slale & Z|P Code P.O. Box, Number, Streel, City. Slale & ZlF Code
Bexar Locatlon of principal assets, if different from principal
H,En[y _ place of business

 

Number, Streel, Clly. Siale & Z|P Code '

E"'

Debtor's website (URL) thp:l/www.l`lrstriverener_g_y_.com

 

 

 

F’

Tl/Pe Of debtor [z] Corporalion (inc|uding Limiled Liabiliiy Company (LLC) and Limiled Liabi|ity Parlnership (Ll.P))
[j Pannership (excluding LLP)
ll Olher. Speciiy: _ __

 

Oinc|al Form 201 Voiuntary Petition for Non-|ndividuais Filing for Bankruplcy page 1

 

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Deblor First Rivgr Energy, LLC Case number (ilknown)
Name

 

 

’i‘. Describe debtor‘s business A. Check one:
[:I i-iealth Care Business (as delined in 11 U.S.C. § 101 (27A))
[:] Singie Assel Reai Estate (as defined in 11 U.S,C. § 101(51B))
l:] Rai|rcad (as defined in 11 U.S.C. § 101(44))
l:l Stockbroker (as defined in 11 U.S.C. § 101 (53A))
l:] Commodity Broker (as defined in 11 U.S.C. § 101(6))
[:l Clearing Bank(as defined in 11 U.S.C. § 781(3))

iii

      

B. Check all that apply
t:l Tax-exempt entity (as described in 26 U.S.C. §501)
l:l investment company, including hedge fund or pooled investment vehicle (as delined in 15 U.S.C. §BOa-S)

  

as d_¢"n

   
 

 

l:i investment ad ` _§BUb'Z_i:

 

 

C. NA|CS (i~lonh Amerir:en industry Ciassiiicelion Syslem) 4~digit code that best describes debtor.
See htig:ilimvw.usogurls.gg_vdnurdigli-natinnai-aseoctat|on-naics-c:odes,

 

8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor rillng? l:| Chap“" 7
|:| chapter 9

[Z] chapter 11. check a// matapp/y.

l:l Debtor's aggregate noncontlngent liquidated debts (c)<c:luding debts owed to Insiders or'aiiiliaies)
are less than $2,566,050 (amount subject to adiuslment on 4/01/19 and every 3 years after ltlal)_

[:l The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). if the debtor is a small
business debtor, attach the most recent balance sheei, statement of operations, cash-tlow
slatement, and federal income lax return or ii ali of these documents do notexist, follow the
procedure in 11 U.S.C. § 1116(1)(B).

A plants being filed with this petition.

l:ll:i

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

[:] The debtor is required to file periodic reports (for example, 10K and 100) with the Secun'ties and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Aclof1934. Fi|e the
attachment lo Vo/unlary Peililon for Non-/ndividua/s Fi/ing for Bankruplcy under Chapter 1 1
(Ofiiciai Form 201A) with this form.

l:] The debtor is a shell company as delined in the Securities Exchange Act of 1934 Rule 12b-2.
[:] Chapier 12

 

 

9. Were prior bankruptcy |'¥] NO_
cases filed by or against
the debtor within the last 8 l:| Ye$~

years?

if more than 2 cases. attach a _ _

Separme|i$[A Distnct _ _ _ _ __ _ When __ Case number _
District 'When __ Case number

 

 

10. Are any bankruptcy cases [2] NO
pending or being filed by a
business partner or an g Ye$-
affiliate of the debtor'?

List ali cases il more than 1,
attach a separate list Debl°r _ _ R€|a“°n$h[p _

Disiricl When Case number, if known

 

Officia| Form 201 Voiuntary Petition for Non-individuais Fiiing for Bankruptcy page 2

 

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Debtor Fiy__r.-,i Ri\,rgy Engrgy, LLC Case number (i‘lknown) _
Name ' __ _ _ _

11. Why is the case filed in Check all that apply:

t l d t '
h s ls r,ct? iii Dobtor has had its domicile, principal place of businessl or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district

i:] A bankruptcy case concerning debtor's ainliate. general partner, or partnership is pending in this district

 

12. Does the debtor own or [E No

have 0 sion of an
real peo::?t; or pers°n\;,| 13 Yes_ Answer below ior each property that needs immediate attention. Altach additional sheets ii needed

 

 

 

 

 

 

 

property that needs
immediate attention? Why does the property need immediate attention? (Check all that apply.)
i:i lt poses or is alleged to pose a threat oi imminent and identifiable hazard to public health or saiety.
Whal is the hazard?
\:I lt needs to be physically secured or protected from the weather.
I:i lt includes perishable goods or assets that could quickly deteriorate or lose value without attention (for examp|e,
iivestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
l:l Other
Where is the property? _ _ _ ___
Number, Street, City, State & ZiP Code
is the property insured?
I:\ No
i:i Yes_ insurance agency _ _ _ _ _ _ _ _ _
Contact name
Phone _ __
mtistlca| and administrative information
13. Debtor's estimation of . Check one.'

' l
ava'\ab e funds [Z] Funds will be available for distribution to unsecured creditors

[I Aiter any administrative expenses are paid, rio funds will be available to unsecured creditors

 

 

 

 

 

 

 

14~ ES\imafed number Of iii 1-49 ij 1,000-5,000 ij 25,001-50,000
creditors m 50.99 i:i 5001-10,000 ij 50,001-100,000

ij 100-199 ij 10,001-25,000 |j iviore inanioo,ooo
ij 200-999

15» Esfimafed Assets [i so - $50,000 i_| $1,000,001 - $10 million ij $500,000,001- $1 billion
ij $50,001 - $100,000 iii $10,000,001 - $50 million ij $1,000,000,001 - $10 biiion
ij $100,001 - $500,000 ij $50,000,001 - $100 million ij $10,000,000,001 - $50 biiion
[:] $500,001 - $1 million l:i $100,000,001 - $500 million I:i More than $50 billion

16. Esiimaled liabilities ij $0-$50,000 ij $1,000,001 _ 510 million ij $500,000,001~ $1 billion
ij $50,001 - $100,000 iii $10,000,001- $50 million ij $1,000,000.001-$10l>iiion
[i $100,001 - $500,000 ij $50,000,001 - $100 million ij $10,000,000.001 - $50 bilion
ij $500,001 - s1 million ij $100,000,00'1 - $500 million ij More man sso billion

Oiiicia| l~'orm 201 Voiuntary Petitlon for Non-lndividuals Fillng for Bankruptcy page 3

 

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Debtor First R{\_rer E|-\erg>i'll LLC Case number (ifknown)

Name

Request for Reiief, Dec:larationl and Signatures

 

 

WARNiNG -- Bankruptcy fraud is a serious crime Making a false statement in connection with a bankruptcy case can result in lines up to $500,000 or
imprisonment for up to 20 years, or bolh. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Dec|aration and signature

of authorized
representative of debtor

18.Signature ofattorney X /

Ofl'icia| Form 201

The debtor requests relief in accordance with the chapter of title 11, United Stales Code, specified in this petition.
l have been authorized to tile this petition on behalf of the debtor.
l have examined the information in this petition and have a reasonable belief that the information is lrued and correct.

l declare under penalty of perjury that the foregoing is true and correct.

Executed on Janua[y12, 2018

 

 

MM l DDl YYYY
X … \é\»-)(¢_L" Deborah Kryak
Signature of authorized representh of debtor Prlnted name

Til|€ Chief Executive Officer

Date January12, 2018
Si rla re of a ay for debtor MM / DD /YYYY

 

 

Wlltiam E. Cliipmanl Jr. _ __
Printed name

Chipman Brown Cicero & Colel LLP
Firm name

131 3 North Market Street

Suite 5400

Wiin_iing_t_i_:in, DE `198€|1

Number. Street, City, State & ZiP Code

Contaciphone (302)295-0191 Emai| address chipman@chipmanbrown.c_om

3818 _
Bar number and State

Voiuntary Potition for Non-lndividua|s Fiiing for Bankruptcy page 4

 

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FIRST RIVER ENERGY H()LDINGS, LLC

Ri;sopu'rroNs ADoP‘rEI) BY THB BOARI) ot~“ MANAGERS or Fmsr Rlvt:n ENERG\' HoLolNGs,
LLC

.IANuARv 11,2018

'l`he undersigned, being atl of the Managers (the “Managers”) oi` FlRST Rl\/ER ENERG\'
HOLD|NGS, LLC, a Delawarc Limitcd Li~ability Company (the "Company""), pursuant to
applicable provisions of the Delaware Limited Liabiiity Company Acts and the Cornpany's
company agreement, hereby adopt the following resolutions, and such resolutions have not been
amended or rescinded and are now in full force and et`fect:

RESOLVEI), that in the judgment of the Managers of the Company it is desirable and in
the best interests of the Company; its creditors, and other interested partics, that a voluntary
petition be filed by the Company in the United Statcs Bankruptcy Court for the District ot`
Delaware in Wilrnington (th_e "‘B_'ankruptcy Cou_rt"`), seeking relief under the provisions of
Chaptcr ll of Ti_tl'e ll 01` the >United States Code (the "‘Bankrupt'cy Code”), in which the
authority to operate as a debto,r~in»p_ossession will be sought, and the filing of such petition is
authorized hereby; and it is further

RESOLVED, that Scott Avila is appointed to serve as Chief Rcstructuring Oflicer
(“CRO”) of the Cornpany e:ii`cctive as oi` the date hereof The Mariagers delegate to the CRO the
power and authority to approve or take any and all actions that the CRO deems rcasonable,
advisable expedient, convenientg necessary or proper with respect to the Company related to or
arising in the Chapter l l Casc.

RESOLVED, that the CRO and v[)eborah Kryak (the "Autitorized Pcrsons”) arc each
authorized and einpowered, on behalt"of and in the name of the Colnpany, to execute and verify
such petition under Chaptet' l l of the Bankruptcy Code and to cause the same to be filed with the
Bankruptcy Court at such time as the Authorized Person executing thc petitions on behalf ot" the
Company shall determine; and it is further

RESOLVED, that the Authorized Pcrsons ol`the Company bc, and each of them hereby
is_, authorized, on behalf of and in the name ot` the Company, to execute and file all petitions,
at`fidavits, schedules lists and other papers and to take any and all actions which they may deem
necessary or proper in the aforesaid Chapter l l case (the “Case”); and it is further

RESOLVED, that the law iirnt ot’Akcrntan l,LP. 200l Ross Avenue, Suite 3600. l)allas,
Texas 75201 bc, and hereby is, employed under a general retainer as attorneys l`or thc Cotnpany
and any other affiliated debtor entities in thc Case as bankruptcy counsel and l`or all other
relevant purposes; and it is i`urthcr

RES(') LVEI). that the law linn oi`Chipinan lSroWn Ciccro & Colc. i..lil’. l~lcrculcs Pla';/i,a,
1313 N. l\/iarket Strccl. Suite 54()(). Wilmington Dclaware 19801 be. and hereby is. employed

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under a general retainer as local counsel l`or the Conipany in the Bankruptcy Court and any other
affiliated debtor entities in the Case and t`or all other relevant purposes; and it is further

RESOLVED,- that the financial advisory finn of Arinory Strategic Partners, 1230
Rosecrans Ave, Suite 660, Los Angeles, CA 90266 be, and hereby is, enipfoyed under a general
retainer’as financial advisors for the Company and any other affiliated debtor entities in the Case
and for all other relevant pur_poses; and it is further

RESOLVED, that the Authorized Persons ot` the Company be, and each ol` them hereby
is, authorized and empowered on behalf of and in the name of the Conipany, to retain and
employ other attorneys, accountants restructuring professionals financial advisors, and other
professionals to assist the Coinpany in connection with the Case on such terms as are deemed
ncce'ssary, proper o"r desirable; and it is further

RESOLVED, that the Authorized Persons of the Company be, and each ot" them hereby
is, respectively authorized and empowered to cause the Company to enter into, cxecute, deliver,
certify, tile, record_`, and/or perfo_r.nt, such agreements instruments motions, ai`tidavits,
applications for approvals, or ruling of governmental or regulatory authorities, certificates and
other such documents and take any such actions as are, in theirjudgment, necessary, proper, or
desirable to prosecute the Chapter 1 l case and to carry out and put into effect the purposes of the
foregoing resolutions and the transactions contemplated by these resolutions, their authority
thereunto` to be evidenced by the taking ol` such actions; and it is further

RESOLVEI), that any andfall past actions heretofore taken by any Authorized Persons of
the Co'mpany in the name of and on behalf of the Coinpany, in furtherance of any or all
preceding resolutions be, and the same hereby are, ratified, approvcd, and adopted; and it is
further

RESOLVED, that this consent may be signed in any number of counterparts, each of
wh.ich, taken together, shall constitute one and the same consent and that, once signed, this
consent shall be filed with the corporate records of the Coinpany. This consent may be executed
by facsimile or pdi` signature, and a facsimile or pdf signature will constitute an original
signatures

[.s‘ig)m/ u)‘e page ' /r) lion -'.s']

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IN WlTNE'SS Wl-IEREOF, the undersigned have executed this _A__ct`i_qn by Wr'i"t"ten
Conscnt of the Boarcl Of Man'a_'gers in accordance with the LLC ~Agrecmem as of the dane first
written abo_y§.

B()JARD' OF MAN`AG`ERS:

 

David (}a|lagher

 

Deborah Kryak

\ § 3 ..)e d , n
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I.~lric Sha*w_

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4303548¢»;6

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IN Wl”`INE'S-`S W-H'EREOF, the undersigned have executed this Act"io'p by Wri`t't'en
Gonsent of the Boarti of Managers in accordance with the LLC Agrcemeu't as of the date first
written above

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3 0t`4

`BOA,RD OF MAN)\G!`£R"S;

 

David Gallaghcr

 

Deborah Kryak

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Slcphcn C"'

 

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ET!:C Simw

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IN Wl'l`Nl`E SS WHEREOF, the undexsigned have executed this Action by Wrizicn
Con-sent of the Bomd of Managc:s in accordance with the LLC Agmemeni ns 01 the date {"1151

written above.

43(1]5~13(11()

3 01`4

BOARD OF MANAGERS:

 

David .Gallaghel'

/… @] ?jf~
Deborah Kryak 1
, .,/';1,, //

Stephen 0 I{cifl:§_;'fl"'

 

Bric Shaw

 

 

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lN WITNESS. Wl'~lE`REOl"`, the undersigned have executed this A<:lion by Wrilte_n
Conscnl of the Capital Unilholdcrs in countelparts in accordance with Seclion 3.3(c) of the LLC
Agreement as o'f`the date t“n.‘st written above

-'13(135=1.\`.(1;()

CAPITAL UN{’I'H()LDERS

RWES’I` PI FRE HOLDING, LLC

By:_{;;,£WLQ,. A./,@*='J:>

Na 11'¢:'./111|1111111@ Weiss
T lc’:’Manager

15)'5 A'\/ - ",>r-»/~`

Na_me: Brcll"i}uc i W
Title: Mmlager

Stal)]e AsSCis-FRE, LLC

By: S£ablc Assets SPC 011 behalf 0'1" and for the
account of Stable Assets FRE SP, its sole member

Byr_ _
Name: David Ga]lagher
'Tiile: Managex‘

 

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